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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION



    In Re: COOK MEDICAL, INC., IVC FILTERS
    MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
    PRODUCTS LIABILITY LITIGATION                                MDL No. 2570


    This Document Relates to All Actions


                          AMENDED CASE MANAGEMENT ORDER # 27
                               (BELLWETHER TRIAL PLAN)

             Pursuant to the Court’s Amended Case Management Order No. 25 (Dkt. 10593), this Court

    enters the following scheduling order for the bellwether trial selections (McDermitt (1:18-cv-946-

    RLY-TAB), Burrage (1:18-cv-273-RLY-TAB) and Johnson (1:17-cv-1236-RLY-TAB)):

            1.     Motions for Leave to Amend: All motions for leave to amend the pleadings or to
    joining additional parties in McDermitt shall be filed on or before September 30, 2019. All such
    motions in Johnson shall be filed by January 3, 2020 and in Burrage on March 6, 2020.

            2.     Bellwether Depositions: Case-Specific Fact Deposition in Bellwether Cases shall
    be limited to (1) Plaintiff(s), (2) Plaintiff’s treating physicians, (3) sales representatives directly
    associated with the sale of the specific product implanted in the Plaintiff, and (4) two additional
    fact witnesses. The Parties agree that the sales representatives’ depositions will generally occur
    prior to implanting/retrieval physician depositions. If the Parties disagree regarding the proper
    sequencing of depositions and the sequence of questions in depositions in a specific Bellwether
    Case, they will meet and confer prior to contacting the Court for assistance in resolving the issue.
    Additional Case-Specific Fact Depositions may be taken by agreement or by leave of Court upon
    good cause shown.

            3.      Expert Disclosures: Plaintiffs and Defendants shall make the disclosures required
    by Fed. R. Civ. P. 26(a)(2) in McDermitt, Johnson, and Burrage on or before the date(s)
    identified in Exhibit A.

            4.     Independent Medical Examinations: Any independent medical examinations of the
    Plaintiffs in McDermitt, Johnson, and Burrage shall be requested by Defendants on or before the
    date(s) identified in Exhibit A. The Parties shall follow the protocol outlined for these
    examinations in Case Management Order No. 21 (Dkt. 4978).



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           5.      Close of Discovery: Discovery must be completed in McDermitt, Johnson, and
    Burrage by the dates identified in Exhibit A. Extensions may be granted by agreement or by
    leave of Court upon good cause shown.

            6.      Preliminary Witness & Exhibit Lists: Preliminary witness and exhibit lists in
    McDermitt, Johnson, and Burrage are due on or before the date(s) identified in Exhibit A. The
    lists should reflect the specific potential witnesses and exhibits at each bellwether trial. It is not
    sufficient for a Party to simply incorporate by reference “any witnesses listed in discover” or
    such general statements.

            7.     Motions for Summary Judgment and Daubert Motions: Motions for summary
    judgment and Daubert motions regarding the limitation or exclusion of expert testimony in
    McDermitt, Johnson, and Burrage are due on or before the dates identified in Exhibit A.
    Responses to motions for summary judgment and Daubert motions are due on or before the dates
    identified in Exhibit A. Replies are due on or before the dates identified in Exhibit A. A hearing
    on Daubert motions and motions for summary judgment will be set by a separate order.

            8.      Bifurcation: Any Party who believes that bifurcation of trial is appropriate with
    respect to any issue or claim in McDermitt, Johnson, and Burrage shall notify the Court as soon
    as practicable and no later than the date(s) identified in Exhibit A.

           9.     Motions in Limine: Motions in limine, responses, and replies, in McDermitt,
    Johnson, and Burrage shall be filed in accordance with the dates identified in Exhibit A. A
    hearing on motions in limine will be set by a separate order.

            10.      Deposition Designations: The Parties shall exchange deposition designations in a
    form that lists the portions of the deposition(s), including the specific page and line numbers, that
    the Party intends to offer as evidence at trial. Deposition designations, counter designations, and
    redirect designations and related objections in McDermitt, Johnson, and Burrage shall be filed in
    accordance with the dates identified in Exhibit A. A hearing on deposition designations will be
    set by a separate order.

            11.      Final Witness Lists: All Parties shall file and serve their final witness list, which
    identifies and notifies the other Party of the identity of all witnesses who will attend the trial, in
    McDermitt, Johnson, and Burrage on or before the date(s) identified in Exhibit A. It is not
    sufficient for a Party to simply incorporate by reference “any witness listed in discovery” or such
    general statements. The list of final witnesses shall include a brief synopsis of the expected
    testimony.

         12.     Final Exhibit Lists: All Parties shall file and serve their final exhibit list in
    McDermitt, Johnson, and Burrage on or before the date(s) identified in Exhibit A.

            13.     Jury Instructions and Verdict Forms: All Parties shall file and serve their proposed
    jury instructions and verdict forms in McDermitt, Johnson, and Burrage on or below the date(s)
    identified in Exhibit A.



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            14.   Stipulations of Fact, Trial Briefs, and Notice to Court of Use of Evidence
    Presentation Equipment: The Parties shall file their stipulations of fact, file and serve their trial
    briefs, and submit their Notice to Court of use of Evidence Presentation Equipment, in
    McDermitt, Johnson, and Burrage on or before the date(s) identified in Exhibit A.

          15.     Final Pretrial Conference: Final pretrial conferences in McDermitt, Johnson, and
    Burrage will be set by a separate order.

           16.     Trial Dates: Trial of McDermitt will begin on April 27, 2020, pursuant to the
    schedule in Exhibit A. Trial of Johnson will begin on October 19, 2020, pursuant to the schedule
    in Exhibit A. Trial of Burrage will begin on February 8, 2021, pursuant to the schedule in
    Exhibit A. Should McDermitt be dismissed or summary judgment granted, Johnson shall take its
    place as the next case to be tried, and the parties shall submit an amended Exhibit A within 7
    days of the dismissal or judgment.

          17.     Additional Deadlines: Any additional deadlines not specifically referenced above
    for McDermitt, Johnson, and Burrage are set forth in Exhibit A.


    SO ORDERED this 22nd day of November 2019.



                                                      RICHARD L. YOUNG, JUDGE
                                                      United States District Court
                                                      Southern District of Indiana


    Distributed Electronically to Registered Counsel of Record.




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